Case 8:07-cv-01476-SCB-MAP Document1 Filed 08/20/07 Page 1 of 7 PagelD 1

FILED

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA = 2097 25.97 pai po.

rril2: 58
TAMPA DIVISION
Pat ‘
Tom Bagnall ; oo
10423 Bradford St. CASENO.: §. 09-6 /-01476-T- AY inAP
Spring Hill, FL 34608
JUDGE:
And
Susan Bagnall
10423 Bradford Street
Spring Hill, FL 34608 COMPLAINT FOR DAMAGES
UNDER THE FAIR DEBT
Plaintiffs, COLLECTION PRACTICES ACT,
INVASION OF PRIVACY,
AND OTHER EQUITABLE RELIEF
Vv.

Academy Collection Service, Inc.
c/o Keith Dickstein, President
10965 Decatur Road
Philadelphia, PA 19154

Defendant.

 

JURY DEMAND ENDORSED HEREIN

JURISDICTION AND VENUE

1. Jurisdiction is founded on 28 U.S.C. §1331 pursuant to the Fair Debt Collections

Practices Act (FDCPA), 15 U.S.C. §1692. Venue is proper in this district because

this is the judicial district where all of the events giving rise to the cause of action

took place.

FACTS COMMON TO ALL COUNTS

2, The Plaintiffs are persons who incurred a consumer debt primarily for personal,

family or household purposes.

3. Defendant is a corporation doing business primarily as a consumer debt collector.

4. Defendant is a debt collector as defined by the FDCPA, 15 U.S.C. §1692a(6).

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The Plaintiffs are consumers as defined by 15 U.S.C. §1692a(3).
Case 8:07-cv-01476-SCB-MAP Document1 Filed 08/20/07 Page 2 of 7 PagelD 2

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The debt in question qualifies as a debt as defined by 15 U.S.C. §1692a(5).
Defendant is either the holder of the debt or was retained by the current holder to
collect the debt.

All of Defendant’s actions occurred within one year of the date of this Complaint.
Defendant has engaged in horrendous debt collection techniques.

On or around March 19, 2007, Defendant contacted Plaintiffs’ 78 year old mother via
telephone and disclosed the existence of a debt.

On or around March 19, 2007, Defendant contacted Plaintiffs via telephone and
accused Plaintiffs of being thieves.

On or around March 20, 2007, Defendant contacted Plaintiffs via telephone,
threatened that a final decision had to be rendered, and that avoiding the situation
would not make it go away.

On or around March 21, 2007, Defendant contacted Plaintiffs and left a voice mail on
Plaintiffs’ answering machine.

During the communication referenced directly above, Defendant failed to disclose
that Defendant was a debt collector.

On or around March 21, 2007, Defendant contacted Plaintiffs’ mother on two
occasions, each time leaving a message on her answering machine instructing
Plaintiffs to return Defendant’s call.

On or around March 22, 2007, Defendant contacted Plaintiffs and again threatened
that a final decision had to be rendered by 5:00pm.

On or around March 22, 2007, Defendant contacted Plaintiffs’ mother and left a

message on her answering machine instructing Plaintiffs to return Defendant’s call.

 
Case 8:07-cv-01476-SCB-MAP Document1 Filed 08/20/07 Page 3 of 7 PagelD 3

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On or around March 24, 2007, during a communication regarding Plaintiffs’ debt,
Plaintiff Tom Bagnal] begged Defendant to cease the harassment and Defendant
denied that anything illegal or harassing was taking place.

On or around March 26, 2007, Defendant contacted Plaintiffs’ mother and demanded
that Plaintiffs’ mother have Plaintiffs return Defendant’s call.

On or around March 26, 2007, Defendant contacted Plaintiffs via telephone.

On or around March 27, 2007, Defendant contacted Plaintiffs via telephone.

On or around March 28, 2007, Defendant contacted Plaintiffs via telephone.

On or around March 29, 2007, Defendant contacted Plaintiffs via telephone.

On or around March 30, 2007, Defendant contacted Plaintiffs via telephone.

On or around April 2, 2007, Defendant contacted Plaintiffs via telephone.

On or around April 3, 2007, Defendant contacted Plaintiffs via telephone.

On or around Apmril 4, 2007, Defendant contacted Plaintiffs via telephone.

On or around April 5, 2007, Defendant contacted Plaintiffs via telephone and
immediately hung up.

On or around April 5, 2007, Defendant contacted Plaintiffs’ teenage son via telephone
and disclosed the existence and amount of the debt.

On April 6, 2007, Plaintiffs were celebrating Good Friday, a religious holiday.

On April 6, 2007, Defendant contacted Plaintiffs via telephone.

During the communication referenced immediately above, Plaintiffs’ requested that
Defendant leave them alone for the day to respect their religious beliefs and
Defendant replied that Defendant did not care about Plaintiffs’ beliefs.

On or around April 9, 2007, Defendant contacted Plaintiffs via telephone.

On or around April 10, 2007, Defendant contacted Plaintiffs via telephone.
Case 8:07-cv-01476-SCB-MAP Document1 Filed 08/20/07 Page 4 of 7 PagelD 4

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On or around April 11, 2007, Defendant contacted Plaintiffs via telephone and
demanded immediate payment.
On or around April 13, 2007, Defendant contacted Plaintiffs via telephone.
On or around April 16, 2007, Defendant contacted Plaintiffs via telephone.
On or around April 16, 2007, Defendant contacted Plaintiffs and asked how Plaintiffs
were unable to make a payment on the account, when they purchased a home the
previous year.
Plaintiffs are emotionally distraught and have been compelled to hire counsel to
prosecute this action.
Defendant has damaged Plaintiffs emotionally and mentally and has caused
substantial anxiety and stress.
Plaintiffs have seen the health of their mother decline as a direct result of Defendant’s
conduct.
Defendant Violated the FDCPA.
COUNT ONE

Violation of the Fair Debt Collections Practices Act
Plaintiffs incorporate each of the preceding allegations as if specifically stated herein.
The Defendant violated 15 U.S.C. §1692c in that it contacted a third party and
disclosed the existence, nature and/or amount of the debt.

COUNT TWO

Violation of the Fair Debt Collections Practices Act
Plaintiffs incorporate each of the preceding allegations as if specifically stated herein.
The Defendant violated 15 U.S.C. §1692c in that it contacted a third party more than

once and is without justification for multiple contacts.
Case 8:07-cv-01476-SCB-MAP Document1 Filed 08/20/07 Page 5 of 7 PagelD 5

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COUNT THREE

Violation of the Fair Debt Collections Practices Act
Plaintiffs incorporate each of the preceding allegations as if specifically stated herein.
The Defendant violated 15 U.S.C. §1692c in that it contacted a third party and failed
to comply with 15 U.S.C. §1692b.

COUNT FOUR

Violation of the Fair Debt Collections Practices Act
Plaintiffs incorporate each of the preceding allegations as if specifically stated herein.
The Defendant violated 15 U.S.C. §1692e(4) in that defendant failed to advise
Plaintiff during verbal communications that defendant was attempting to collect a
debt and information would be used for that purpose.

COUNT FIVE

Violation of the Fair Debt Collections Practices Act
Plaintiffs incorporate each of the preceding allegations as if specifically stated herein.
The Defendant violated 15 U.S.C. §1692e(5) in that it threatened legal action where
such action was not contemplated, and stated for the sole purpose of terrifying the
Plaintiff.

COUNT SIX

Violation of the Fair Debt Collections Practices Act
Plaintiffs incorporate each of the preceding allegations as if specifically stated herein.
The Defendant violated 15 U.S.C. §1692e in that its actions were unfair and/or

unconscionable means to collect a debt.
Case 8:07-cv-01476-SCB-MAP Document1 Filed 08/20/07 Page 6 of 7 PagelD 6

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COUNT SEVEN
Violation of the Fair Debt Collections Practices Act

Plaintiffs incorporate each of the preceding allegations as if specifically stated herein.
The Defendant violated 15 U.S.C. §1692e by making misrepresentations during its
conversations with Plaintiff.

COUNT EIGHT

Invasion of Privacy by Intrusion upon Seclusion

Plaintiffs incorporate each of the preceding allegations as if specifically stated herein.
Defendant intentionally interfered, physically or otherwise, with the solitude,
seclusion, and or private concerns or affairs of the Plaintiffs.
Defendant intentionally caused harm to the Plaintiffs’ emotional well being by
engaging in highly offensive conduct in the course of collecting a debt, as described
herein.
Plaintiffs have a reasonable expectation of privacy in Plaintiffs’ solitude, seclusion,
and or private concerns or affairs.
The intrusion by Defendant occurred in a way that would be highly offensive to a
reasonable person in that position.

JURY DEMAND

Plaintiff demands a trial by jury.

 
Case 8:07-cv-01476-SCB-MAP Document1 Filed 08/20/07 Page 7 of 7 PagelD 7

PRAYER FGR RELIEF
63. Plaintiffs pray for the following relief:

a. Judgment against defendant for actual damages, statutory damages
pursuant to 15 U.S.C. §1692k and costs, and reasonable attorney’s fees
pursuant to 15 U.S.C. §1692k.

b. Judgment, in an amount to be determined at trial, against Defendant for
the Invasion of Privacy by Intrusion Upon Seclusion

c. For such other legal and/or equitable relief as the Court deems appropriate.

RESPECTFULLY SUBMITTED,

Legal Helpers, P.C.

Eric A. Morgdn//,
Bar # 002189
Attorney forPlaihtiff

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Orlando, FL 32801

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